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             Exhibit 45
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                                                                    Page 1

   1
   2      UNITED STATES DISTRICT COURT
   3      DISTRICT OF NEW JERSEY
   4      Civil Action No. 2:16-CV-06576
   5      -----------------------------------x
   6      INDUSTRIA DE ALIMENTOS ZENU S.A.S.,
   7                               Plaintiff,
   8             -against-
   9      LATINFOOD U.S. CORP. d/b/a ZENU
          PRODUCTS CO. and WILSON ZULUAGA,
  10
                      Defendants/Counter Plaintiff.
  11
          -----------------------------------x
  12
          LATINFOOD U.S. CORP. d/b/a ZENU
  13      PRODUCTS CO.,
  14             Defendant/Counter Plaintiff,
  15                  -against-
  16      INDUSTRIA DE ALIMENTOS ZENU S.A.S.
          and CORDIALSA USA, INC.
  17
  18                  Counter Defendants.
  19      -----------------------------------x
  20
  21          DEPOSITION OF HERNANDO RAMOS MORENO
                       New York, New York
  22                    January 16, 2020
  23
  24      Reported By:
  25      ERIC J. FINZ

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   1                       HERNANDO RAMOS MORENO
   2                  Q.    Do you know if there are                15:26:49
   3        employees of Industria that also perform                15:27:11
   4        work projects for Cordialsa?                            15:27:13
   5                  A.    I don't know.                           15:27:26
   6                  Q.    Are you familiar with -- do             15:27:32
   7        you know if Industria has -- had dealings               15:27:40
   8        with U.S. Customs?                                      15:27:46
   9                        MR. RAYMOND:     At any time?           15:28:02
  10                        MR. INGBER:     At any time.            15:28:08
  11                  A.    Not directly.                           15:28:15
  12                  Q.    Has Industria had dealings              15:28:25
  13        with U.S. Customs in conjunction with                   15:28:27
  14        Cordialsa at any time?                                  15:28:30
  15                        MR. RAYMOND:     Objection.       Can   15:28:35
  16                  you read back the question before             15:28:36
  17                  you translate it.                             15:28:39
  18                        (Record read as requested.)             15:29:00
  19                  A.    Yes.                                    15:29:00
  20      BY MR. INGBER:                                            15:29:00
  21                  Q.    In your position as director            15:29:00
  22        of sales, did you make any efforts into                 15:29:09
  23        bringing Zenu and Ranchera branded                      15:29:11
  24        products to the United States?                          15:29:16
  25                  A.    Yes.                                    15:29:34

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   1                       HERNANDO RAMOS MORENO
   2                  Q.    As director of sales, have you          15:29:34
   3        worked with the U.S. Food and Drug                      15:29:36
   4        Administration?                                         15:29:57
   5                  A.    No.                                     15:29:57
   6                  Q.    Do you know who Luis Alfonso            15:29:57
   7        Arango is?                                              15:30:06
   8                  A.    Yes.                                    15:30:08
   9                  Q.    Who is he?                              15:30:09
  10                  A.    He's the manager of Cordialsa           15:30:10
  11        USA.                                                    15:30:25
  12                  Q.    How long have you -- how long           15:30:25
  13        have you known Mr. Arango?                              15:30:27
  14                  A.    Since 2010.                             15:30:38
  15                  Q.    Have you met with him before            15:30:40
  16        in person?                                              15:30:44
  17                  A.    Yes.                                    15:30:49
  18                  Q.    How many times would you say            15:30:49
  19        you've met with him?                                    15:30:51
  20                  A.    One time.                               15:31:00
  21                  Q.    Was this in Colombia?                   15:31:01
  22                  A.    Yes.                                    15:31:05
  23                  Q.    Was this in 2014?                       15:31:06
  24                  A.    Yes.                                    15:31:09
  25                  Q.    How long was your meeting with          15:31:09

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   1                       HERNANDO RAMOS MORENO
   2        Mr. Arango?                                             15:31:20
   3                  A.    I don't remember.                       15:31:28
   4                  Q.    Did you meet with him                   15:31:29
   5        one-on-one?                                             15:31:32
   6                  A.    Yes.                                    15:31:39
   7                  Q.    And what did you discuss?               15:31:39
   8                  A.    To expand Cordialsa's sales             15:31:47
   9        with Industria products.                                15:32:02
  10                  Q.    Where did you -- were you the           15:32:08
  11        one that wanted to expand -- you as                     15:32:12
  12        director of sales, did you want to expand               15:32:15
  13        into the United States?                                 15:32:19
  14                  A.    Yes.                                    15:32:30
  15                  Q.    Was this for Zenu products?             15:32:30
  16                  A.    Yes.                                    15:32:38
  17                  Q.    And how about Ranchera                  15:32:39
  18        products?                                               15:32:42
  19                  A.    No.                                     15:32:43
  20                  Q.    Was this with meat products?            15:32:43
  21                  A.    Initially, no.                          15:32:57
  22                  Q.    When did it become meat                 15:32:59
  23        products?                                               15:33:05
  24                        MR. RAYMOND:     Object to the          15:33:05
  25                  form of the question, no foundation           15:33:06

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   1                       HERNANDO RAMOS MORENO
   2                  for that.                                     15:33:07
   3                  Q.    Did it become meat products?            15:33:14
   4                  A.    I don't understand the                  15:33:23
   5        question.                                               15:33:24
   6                  Q.    You said you wanted to expand           15:33:24
   7        into the United States on behalf of                     15:33:27
   8        Industria.                                              15:33:31
   9                  A.    Yes.                                    15:33:38
  10                  Q.    And you said that it was Zenu           15:33:39
  11        brand products.        Is that correct?                 15:33:42
  12                  A.    Yes.                                    15:33:47
  13                  Q.    Did there come a point in time          15:33:47
  14        where you wanted to expand Zenu brand                   15:33:50
  15        meat products into the U.S.?                            15:33:53
  16                  A.    Yes.                                    15:34:02
  17                  Q.    Was this at the direction of            15:34:02
  18        Diego Medina?                                           15:34:05
  19                  A.    Yes.                                    15:34:09
  20                  Q.    Did you have a plan for                 15:34:11
  21        getting -- excuse me.                                   15:34:22
  22                        How did you plan to get around          15:34:25
  23        the hoof-and-mouth restriction that you                 15:34:30
  24        mentioned before?                                       15:34:33
  25                  A.    We're trying to find a local            15:34:35

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   1                       HERNANDO RAMOS MORENO
   2        manufacturer.                                           15:34:52
   3                  Q.    "Local" meaning in the United           15:34:54
   4        States?                                                 15:35:01
   5                  A.    Yes.                                    15:35:01
   6                  Q.    Doesn't Industria currently             15:35:04
   7        export meat products from the U.S. to                   15:35:10
   8        Colombia?                                               15:35:14
   9                  A.    Yes.                                    15:35:26
  10                  Q.    So you already had a local              15:35:26
  11        distributor in the U.S.            Isn't that           15:35:28
  12        correct?                                                15:35:30
  13                        MR. RAYMOND:       Object to the        15:35:30
  14                  form of the question.                         15:35:31
  15                  Q.    Is that correct?                        15:35:46
  16                  A.    Can you repeat the question?            15:35:47
  17                  Q.    You already had a local meat            15:35:51
  18        manufacturer of product in the U.S.                     15:35:55
  19        Didn't you?                                             15:35:58
  20                        MR. RAYMOND:       Object to the        15:35:59
  21                  form of the question.         At what         15:36:06
  22                  point in time when you say he                 15:36:08
  23                  already had?                                  15:36:09
  24                  Q.    When you were trying to export          15:36:14
  25        Zenu Ranchera meat products into the                    15:36:19

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   1                       HERNANDO RAMOS MORENO
   2        U.S., which I believe was at around 2014?               15:36:24
   3                          MR. RAYMOND:     I'm going to         15:36:37
   4                  object to that in that he said it             15:36:38
   5                  was Zenu and not Ranchera.                    15:36:40
   6                          MR. INGBER:     I'm sorry, yes.       15:36:44
   7                  Zenu.                                         15:36:46
   8                  A.      Yes.                                  15:36:48
   9                  Q.      Again, when did you first --          15:36:56
  10        when did Industria first try to export                  15:37:02
  11        Zenu meat products into the U.S.?                       15:37:07
  12                          MR. RAYMOND:     Again, I'm going     15:37:25
  13                  to object to the form.          There has     15:37:26
  14                  been no testimony that they ever              15:37:27
  15                  did try to export meat products to            15:37:29
  16                  the U.S.                                      15:37:31
  17                          But you can answer the                15:37:33
  18                  question if you can.                          15:37:39
  19                  A.      They were not meat products.          15:37:44
  20                  Q.      I believe you testified               15:37:50
  21        earlier that Zenu -- excuse me.                 That    15:37:51
  22        Industria exports meat products from the                15:37:56
  23        United States to Colombia.                              15:37:59
  24                  A.      Yes.                                  15:38:09
  25                  Q.      So isn't it true that                 15:38:11

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   1                         HERNANDO RAMOS MORENO
   2        Industria had access to meat in the U.S.                15:38:13
   3        locally?                                                15:38:19
   4                          MR. RAYMOND:     Object to the        15:38:23
   5                  form.    At what time are you asking          15:38:29
   6                  him?                                          15:38:31
   7                          MR. INGBER:     We are talking        15:38:32
   8                  about a specific time.          We're         15:38:34
   9                  talking about 2014.        That's what        15:38:35
  10                  we're talking about.                          15:38:37
  11                          MR. RAYMOND:     You asked him        15:38:38
  12                  whether they export meat products             15:38:39
  13                  now.    And then you're assuming that         15:38:40
  14                  that meant that they did it, you              15:38:42
  15                  know, five years ago.                         15:38:44
  16                          I'm just asking you to clarify        15:38:45
  17                  so he understands what you're                 15:38:46
  18                  asking him.   If it's 2014, then              15:38:47
  19                  just ask him if he did it -- if               15:38:51
  20                  they did it in 2014.         It's pretty      15:38:53
  21                  simple.    It's a confusing question          15:38:56
  22                  when you tie together the present             15:38:59
  23                  with a period five years ago                  15:39:00
  24                  without specifying it.                        15:39:02
  25                          MR. INGBER:     I'm going to          15:39:04

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    1                       HERNANDO RAMOS MORENO
    2                  rephrase.                                     15:39:05
    3      BY MR. INGBER:                                            15:39:06
    4                  Q.    When did -- do you know when            15:39:06
    5        Industria first started exporting meat                  15:39:09
    6        products from the U.S. to Colombia?                     15:39:11
    7                  A.    I don't remember.                       15:39:24
    8                  Q.    Had Industria been exporting            15:39:25
    9        meat products from the U.S. to Colombia                 15:39:29
   10        in 2011?                                                15:39:33
   11                  A.    No.                                     15:39:48
   12                  Q.    Again, when did it begin?               15:39:48
   13                        MR. RAYMOND:       He just said he      15:39:55
   14                  didn't know.                                  15:39:56
   15                  Q.    Had Industria been exporting            15:40:17
   16        meat products from the United States to                 15:40:20
   17        Colombia in 2014?                                       15:40:24
   18                  A.    I don't remember.                       15:40:36
   19                  Q.    Had Industria been exporting            15:40:37
   20        meat products from the United States into               15:40:47
   21        Colombia in the last two years?                         15:40:51
   22                  A.    Yes.                                    15:40:58
   23                  Q.    How about in the last five              15:40:59
   24        years?                                                  15:41:01
   25                  A.    I don't remember.                       15:41:05

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    1                       HERNANDO RAMOS MORENO
    2                  Q.    You remember two years but not          15:41:06
    3        five years.       Is that correct?                      15:41:10
    4                  A.    Yes.                                    15:41:13
    5                  Q.    What date did you meet with             15:41:14
    6        Mr. Arango?                                             15:41:39
    7                  A.    2014.                                   15:41:45
    8                  Q.    Do you remember the month?              15:41:47
    9                  A.    March.                                  15:42:00
   10                  Q.    What was the reason for you             15:42:00
   11        meeting again with Mr. Arango?                          15:42:02
   12                        MR. RAYMOND:        It's been asked     15:42:05
   13                  and answered.                                 15:42:07
   14                        But you can answer it again.            15:42:07
   15                  A.    To be able to expand                    15:42:18
   16        Cordialsa's sales with the Industria                    15:42:28
   17        portfolio in the United States.                         15:42:30
   18                        MR. INGBER:        Could we have        15:42:48
   19                  this marked as HRM-B.                         15:42:50
   20                        (Exhibit HRM-B for                      15:42:50
   21                  identification, email dated                   15:42:50
   22                  September 19, 2017, production                15:42:50
   23                  numbers IAZ_DNJ 2488 through                  15:42:50
   24                  IAZ_DNJ 2491.)                                15:43:30
   25                        MR. RAYMOND:        Again, for the      15:43:30

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    1                       HERNANDO RAMOS MORENO
    2                  record, HRM-B appears to be a                    15:43:31
    3                  document that's only in English.                 15:43:34
    4                  So you may have to translate what                15:43:36
    5                  you want to ask him about.                       15:43:37
    6      BY MR. INGBER:                                               15:43:50
    7                  Q.      By the way, have you ever --             15:43:51
    8        these are documents that were produced by                  15:43:53
    9        your counsel labeled IAZ_DNJ 2488 through                  15:43:55
   10        2491.                                                      15:44:01
   11                  A.      Okay.                                    15:44:09
   12                          MR. INGBER:      I'm going to ask        15:44:23
   13                  the translator to refer to 2480.                 15:44:24
   14                  And if you could read out the first              15:44:28
   15                  email from Hernando Ramos Moreno to              15:44:32
   16                  Fernery Garcia, cc Santiago Jimenez              15:44:41
   17                  Ramirez, regarding meeting with                  15:44:46
   18                  Luis Alfonso Arango, Cordialsa USA.              15:44:50
   19                          MR. RAYMOND:      There is no            15:44:54
   20                  2480.    Do you mean 2490?                       15:44:56
   21                          MR. INGBER:      2490.      I'm sorry.   15:44:58
   22                          THE INTERPRETER:         The second      15:45:02
   23                  to last page?                                    15:45:03
   24                          MR. INGBER:      Yes.                    15:45:04
   25                          THE INTERPRETER:         The             15:45:05

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    1                       HERNANDO RAMOS MORENO
    2                  highlighted portion?       Do you want        15:45:06
    3                  just the highlighted portion?                 15:45:07
    4                        MR. INGBER:     If you can read         15:45:17
    5                  the whole thing.    If you would give         15:45:18
    6                  him the information about dates and           15:45:25
    7                  who it's from.                                15:45:27
    8                        (Interpreter complies.)                 15:45:30
    9      BY MR. INGBER:                                            15:49:04
   10                  Q.    Is this email dated March 5,            15:49:04
   11        2014?                                                   15:49:06
   12                  A.    Yes.                                    15:49:14
   13                  Q.    Why did you draft this email?           15:49:14
   14                  A.    After the meeting with Luis             15:49:40
   15        Alfonso Arango I was trying to find some                15:49:42
   16        tasks so we could work on exporting to                  15:49:46
   17        the United States.                                      15:49:48
   18                  Q.    Who is Fernery Garcia?                  15:49:50
   19                  A.    My boss at that time.                   15:49:58
   20                  Q.    Did Santiago Jimenez have a             15:50:06
   21        role in this project?                                   15:50:11
   22                  A.    Yes.                                    15:50:17
   23                  Q.    What was his role?                      15:50:17
   24                        THE INTERPRETER:        I just want     15:50:32
   25                  to look a word up to make sure.               15:50:33

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    1                       HERNANDO RAMOS MORENO
    2                  A.    He was the manager of the               15:50:36
    3        supply chain.                                           15:50:38
    4                  Q.    Did the meeting -- you                  15:50:40
    5        reference a meeting with Luis Arango.                   15:50:45
    6        Was the meeting on that same day of March               15:50:49
    7        5, 2014?                                                15:50:51
    8                  A.    No.                                     15:51:00
    9                  Q.    Was it the day before?                  15:51:00
   10                  A.    Yes.                                    15:51:04
   11                  Q.    So was there -- do you know if          15:51:06
   12        there was -- why was the -- why was the                 15:51:15
   13        project to export beans suspended?                      15:51:18
   14                  A.    It was not being suspended.             15:51:31
   15                        MR. INGBER:      Read him back the      15:51:41
   16                  first bullet point.                           15:51:42
   17                        (Interpreter complies.)                 15:51:45
   18                  A.    Oh, it had been.         This is in     15:51:54
   19        the past.                                               15:51:55
   20                  Q.    When had it been suspended, to          15:51:56
   21        your knowledge?                                         15:52:02
   22                  A.    2011.                                   15:52:02
   23                  Q.    Do you know if the suspension           15:52:08
   24        had been lifted?                                        15:52:11
   25                  A.    Yes.                                    15:52:17

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                                                                         Page 42

    1                         HERNANDO RAMOS MORENO
    2                  Q.      So the suspension was no                  15:52:17
    3        longer in place.          Is that what you're               15:52:20
    4        saying?                                                     15:52:22
    5                  A.      No.                                       15:52:27
    6                  Q.      No, it was lifted?                        15:52:30
    7                  A.      Yes.                                      15:52:37
    8                  Q.      Do you know why the suspension            15:53:03
    9        was lifted?                                                 15:53:06
   10                  A.      Because Cordialsa was a larger            15:53:13
   11        company and they had a better capacity                      15:53:22
   12        for distribution.                                           15:53:24
   13                  Q.      Well, that doesn't answer --              15:53:27
   14        that doesn't appear to answer the                           15:53:29
   15        question about why the suspension was                       15:53:31
   16        lifted.                                                     15:53:33
   17                          MR. RAYMOND:       I object to the        15:53:34
   18                  comment.      And there is no question            15:53:35
   19                  yet.                                              15:53:37
   20                  Q.      Does it?                                  15:53:40
   21                          MR. RAYMOND:       Does?       I object   15:53:44
   22                  to the form.      Does what?                      15:53:46
   23                  Q.      Your answer doesn't appear to             15:53:48
   24        answer the question about why the                           15:53:50
   25        suspension is lifted.             To me.       It doesn't   15:53:52

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    1                       HERNANDO RAMOS MORENO
    2        appear.                                                  15:53:55
    3                        MR. RAYMOND:       I object to the       15:53:57
    4                  comment.    It makes sense to me.              15:53:58
    5                        MR. INGBER:       Good for you.          15:53:59
    6                        MR. RAYMOND:       Well, good.      He   15:54:00
    7                  answered the question.          So that's      15:54:02
    8                  the answer.                                    15:54:03
    9                        There is no question.                    15:54:19
   10                  Q.    When did the suspension that             15:54:21
   11        you referenced before in this letter,                    15:54:23
   12        when was it lifted?                                      15:54:27
   13                  A.    I don't remember.                        15:54:39
   14                  Q.    Was the suspension lifted at             15:54:42
   15        the time of this March 10, 2014 email                    15:54:46
   16        that you wrote?                                          15:54:51
   17                  A.    Not necessarily.                         15:55:03
   18                  Q.    Do you know if Latinfood had a           15:55:09
   19        trademark registration in the name of                    15:55:12
   20        Zenu at this time, in the U.S.?                          15:55:14
   21                  A.    No.                                      15:55:24
   22                  Q.    Do you know if the suspension            15:55:25
   23        that you reference here had anything to                  15:55:27
   24        do with Latinfood having a Zenu                          15:55:28
   25        registration in the U.S.?                                15:55:33

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    1                       HERNANDO RAMOS MORENO
    2                  A.    No.                                     15:55:48
    3                        (Exhibit HRM-C for                      15:56:08
    4                  identification, letter dated                  15:56:08
    5                  January 12, 2011, production                  15:56:08
    6                  numbers IAZ_DNJ 3606 through                  15:56:08
    7                  IAZ_DNJ 3609.)                                15:56:17
    8                        MR. INGBER:     We're going to          15:56:17
    9                  have this marked as HRM-C.                    15:56:18
   10      BY MR. INGBER:                                            15:56:52
   11                  Q.    Have you ever seen this letter          15:57:08
   12        before?                                                 15:57:09
   13                  A.    Yes.                                    15:57:14
   14                  Q.    What do you understand this             15:57:15
   15        letter -- do you know this is a letter                  15:57:19
   16        dated January 12, 2011 from U.S. Customs                15:57:20
   17        and Border Protection to an Ernesto                     15:57:27
   18        Jocson?                                                 15:57:31
   19                  A.    Yes.                                    15:57:47
   20                  Q.    Did you first see this letter           15:57:48
   21        when it was -- around the time it was                   15:57:49
   22        written in January of 2011?                             15:57:52
   23                  A.    Yes.                                    15:58:05
   24                  Q.    When did you see this letter            15:58:07
   25        most recently?                                          15:58:10

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    1                        HERNANDO RAMOS MORENO
    2        the Tariff Act.         It says that, quote,            16:00:26
    3        "Provides, in general, that all articles                16:00:36
    4        of foreign origin imported into the U.S.                16:00:39
    5        must be legibly, conspicuously and                      16:00:42
    6        permanently marked to indicate the                      16:00:46
    7        English name of the country of origin to                16:00:49
    8        an ultimate purchaser in the U.S."                      16:00:51
    9                         It goes on to say, quote, "The         16:01:21
   10        samples you submitted do not appear to be               16:01:25
   11        properly marked with the country of                     16:01:28
   12        origin.        You may wish to discuss the              16:01:29
   13        matter of country of origin marking with                16:01:29
   14        the Customs import specialist at the                    16:01:32
   15        proposed port of entry."                                16:01:34
   16                         Did this letter have anything          16:01:58
   17        to do with Industria's trying to import                 16:02:01
   18        Zenu-branded products into the U.S.?                    16:02:07
   19                  A.     Yes.                                   16:02:22
   20                  Q.     Do you know if this had                16:02:25
   21        anything to do with the suspension that                 16:02:27
   22        you referenced in your email dated March                16:02:30
   23        10 -- March 5, 2014, to Fernery Garcia?                 16:02:41
   24                  A.     Yes.                                   16:03:04
   25                  Q.     So more than three years had           16:03:05

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    1                       HERNANDO RAMOS MORENO
    2        passed since this January 12, 2011                      16:03:11
    3        Customs letter, and your email dated                    16:03:15
    4        March 5, 2014.         Isn't that correct?              16:03:21
    5                  A.    Yes.                                    16:03:42
    6                  Q.    Would you say that this was a           16:03:42
    7        labeling issue?                                         16:03:46
    8                        MR. RAYMOND:       Object to the        16:03:50
    9                  form of the question.         That what       16:03:51
   10                  was a labeling issue?                         16:03:56
   11                  Q.    Was this Customs letter                 16:03:59
   12        related to a labeling issue that you                    16:04:01
   13        were -- that Industria was dealing with?                16:04:04
   14                  A.    Yes.                                    16:04:13
   15                  Q.    Do you know why it took three           16:04:14
   16        plus years for Industria to address this                16:04:26
   17        issue of labeling?                                      16:04:32
   18                  A.    I don't remember.                       16:04:38
   19                  Q.    So is it -- isn't it accurate           16:04:58
   20        that three years passed and Industria                   16:05:02
   21        still hadn't fixed the problems about                   16:05:03
   22        labeling to enable their products to get                16:05:06
   23        into the U.S.?                                          16:05:09
   24                        MR. RAYMOND:       I object to the      16:05:22
   25                  form of the question.         There is no     16:05:23

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    1                       HERNANDO RAMOS MORENO
    2                  foundation for various assumptions            16:05:25
    3                  contained in that question.                   16:05:27
    4                          But you can answer.                   16:05:30
    5                  Q.      You can answer the question.          16:05:37
    6                  A.      It was not just the label.            16:05:38
    7                  Q.      It was other issues?          What    16:05:44
    8        other issues?                                           16:05:46
    9                  A.      The Cordialsa distribution            16:05:53
   10        model was very small.                                   16:05:57
   11                  Q.      Did it also have to do with           16:06:05
   12        the technical specification sheet in                    16:06:10
   13        English which needed to be presented to                 16:06:14
   14        the FDA that you mention in your March 5,               16:06:15
   15        2014 letter -- email?                                   16:06:18
   16                          MR. RAYMOND:     Object to the        16:06:21
   17                  form.                                         16:06:23
   18                          You can answer.                       16:06:23
   19                  A.      Yes.                                  16:06:40
   20                  Q.      Do you know if there were any         16:06:43
   21        sanitary problems as well that was                      16:06:44
   22        preventing Industria from bringing its                  16:06:48
   23        goods into the -- its Zenu goods into the               16:06:54
   24        U.S.?                                                   16:07:02
   25                  A.      No.                                   16:07:11

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    1                        HERNANDO RAMOS MORENO
    2                  Q.     This labeling issue, do you            16:07:19
    3        know if Industria ever fixed this issue?                16:07:26
    4                  A.     Yes.                                   16:07:37
    5                  Q.     And do you know when that was          16:07:37
    6        fixed?                                                  16:07:40
    7                  A.     I don't remember.                      16:07:46
    8                  Q.     Did this issue have anything           16:07:50
    9        to do with Latinfood, by any chance?                    16:07:52
   10                  A.     I don't remember.                      16:08:06
   11                  Q.     Now, looking at HRM-B, Bates           16:09:18
   12        number IAZ_DNJ 2489.           There is an email        16:09:28
   13        dated -- a subsequent email dated March                 16:09:47
   14        10, 2014, from Mr. Moreno to Carlos                     16:09:50
   15        Escobar, Santiago Jimenez, Juliana Gomez                16:10:03
   16        Gonzalez.        And this is, again, regarding          16:10:10
   17        the meeting with Luis Alfonso Arango,                   16:10:14
   18        Cordialsa USA.                                          16:10:23
   19                  A.     Okay.                                  16:10:41
   20                  Q.     It says, "Good morning,                16:10:42
   21        Carlos.        Through the instruction of Diego         16:10:45
   22        Medina, we had a meeting last week with                 16:10:49
   23        Luis Alfonso Arango, manager of Cordialsa               16:10:51
   24        USA, who is interested in selling Zenu                  16:10:56
   25        antioquenos beans times 380 and 580 grams               16:11:03

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    1                       HERNANDO RAMOS MORENO
    2        to a nostalgic market of Colombians in                  16:11:03
    3        some geographic areas such as Florida,                  16:11:06
    4        New York and California."                               16:11:09
    5                        So did Mr. Medina ever discuss          16:11:39
    6        the reasons with you why he wanted to                   16:11:45
    7        bring Industria's Zenu-branded products                 16:11:49
    8        to the U.S.?                                            16:11:55
    9                  A.    Not directly.                           16:12:05
   10                  Q.    How did you -- you say here             16:12:07
   11        "through the instruction of Diego Medina"               16:12:13
   12        you had a meeting last week with                        16:12:17
   13        Mr. Arango.                                             16:12:18
   14                        How did Mr. Medina convey this          16:12:20
   15        instruction?                                            16:12:22
   16                  A.    Through my direct boss.                 16:12:38
   17                  Q.    And who was that again?                 16:12:41
   18                  A.    He's in the email, Fernery              16:12:45
   19        Garcia.                                                 16:12:53
   20                  Q.    Do you know what the purpose            16:13:02
   21        of this email was for?                                  16:13:03
   22                  A.    To begin the project of                 16:13:15
   23        exporting their products into the United                16:13:20
   24        States.                                                 16:13:23
   25                  Q.    Were you in charge of this              16:13:23

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    1                       HERNANDO RAMOS MORENO
    2        project on behalf of Industria?                         16:13:25
    3                  A.      Yes.                                  16:13:33
    4                  Q.      Who were the people that              16:13:34
    5        you've worked with at Industria or                      16:13:54
    6        Cordialsa about bringing Industria's                    16:13:58
    7        branded Zenu products into the U.S.?                    16:14:03
    8                          MR. RAYMOND:      Object to the       16:14:12
    9                  form.    To clarify, do you want the          16:14:13
   10                  names of the people from both                 16:14:15
   11                  companies or just one or the other.           16:14:16
   12                  You said or.                                  16:14:18
   13                          MR. INGBER:      I said both.         16:14:19
   14                          MR. RAYMOND:      You said or.        16:14:20
   15                          MR. INGBER:      Industria and        16:14:22
   16                  Cordialsa.                                    16:14:29
   17                  A.      Okay.   From marketing, Luis          16:14:32
   18        Ignacio Salazar.          The supply chain,             16:14:41
   19        Santiago Jimenez.          And Luis Alfonso             16:14:47
   20        Arango from Cordialsa USA.                              16:14:56
   21                  Q.      Have you ever travelled to the        16:14:59
   22        United States before?                                   16:15:01
   23                  A.      Regarding this matter or              16:15:15
   24        personal?                                               16:15:16
   25                  Q.      Well, first, have you ever            16:15:17

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    1                       HERNANDO RAMOS MORENO
    2        travelled to the U.S. before?                           16:15:18
    3                  A.    Yes.                                    16:15:24
    4                  Q.    How many times?                         16:15:24
    5                  A.    Four or five times.                     16:15:28
    6                  Q.    Have you ever travelled to the          16:15:34
    7        U.S. on official business for Industria?                16:15:35
    8                  A.    Yes, fairs.                             16:15:44
    9                  Q.    What kind of fairs?                     16:15:53
   10                  A.    Food fairs.                             16:15:58
   11                  Q.    When did you travel to the              16:16:02
   12        U.S. to attend a food fair, what year?                  16:16:03
   13                  A.    2007.   And 2016.        I don't        16:16:20
   14        remember exactly.                                       16:16:27
   15                  Q.    Was this a food fair in the             16:16:28
   16        U.S. in 2007 and 2016?                                  16:16:33
   17                  A.    Yes.                                    16:16:39
   18                  Q.    Where was the 2007 food fair            16:16:43
   19        that you attended?                                      16:16:53
   20                  A.    Chicago.                                16:17:00
   21                  Q.    How about the one in 2016?              16:17:01
   22                  A.    Chicago.                                16:17:04
   23                  Q.    Was Industria an exhibitor at           16:17:07
   24        either of these food fairs?                             16:17:12
   25                  A.    No.                                     16:17:18

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    1                         HERNANDO RAMOS MORENO
    2                  Q.      Did you -- have you ever seen         16:17:24
    3        any Zenu-branded products owned by                      16:17:27
    4        anybody in the U.S. in any of your                      16:17:32
    5        visits?                                                 16:17:34
    6                  A.      No.                                   16:17:45
    7                  Q.      When you came to the United           16:17:47
    8        States on business, did it have anything                16:17:55
    9        to do with Industria trying to bring --                 16:17:57
   10        trying to establish Zenu in the U.S.?                   16:18:04
   11                  A.      Me directly, no.                      16:18:29
   12                          MR. RAYMOND:     Can we take a        16:18:35
   13                  bathroom break, five minutes?                 16:18:36
   14                          MR. INGBER:     Sure.                 16:18:38
   15                          (A recess was taken.)                 16:18:39
   16                          MR. INGBER:     Back on the           16:37:24
   17                  record.                                       16:37:25
   18      BY MR. INGBER:                                            16:37:26
   19                  Q.      You testified earlier that the        16:37:26
   20        Cordialsa distribution model was very                   16:37:29
   21        small.         What did you mean by that?               16:37:31
   22                  A.      That it was a growing company         16:38:00
   23        and when we started the project with them               16:38:02
   24        initially, they did not have the right                  16:38:07
   25        distribution model to increase our sales.               16:38:10

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    1                       HERNANDO RAMOS MORENO
    2                  Q.      That had nothing to do with               16:38:13
    3        Latinfood; did it?                                          16:38:22
    4                          MR. RAYMOND:     Object to the            16:38:27
    5                  form.                                             16:38:27
    6                          You can answer.                           16:38:29
    7                  A.      Let's say that Cordialsa's                16:38:44
    8        distribution model has nothing to do with                   16:38:47
    9        Latinfood.                                                  16:38:48
   10                  Q.      Do you know a company named               16:38:50
   11        Marquillas?                                                 16:39:00
   12                  A.      No.                                       16:39:01
   13                  Q.      Do you know anybody named                 16:39:01
   14        Felipe Munera?                                              16:39:04
   15                  A.      No.                                       16:39:13
   16                  Q.      Now, going back to HRM-B.            On   16:39:20
   17        IAZ_DNJ 2489 -- actually it begins on                       16:39:40
   18        2488 at the bottom.          There is a reference           16:39:48
   19        email from Juliana Gomez Gonzalez for                       16:39:55
   20        you, dated March 11, 2014, I believe.                       16:40:08
   21        And it relates to a meeting, again, with                    16:40:16
   22        Luis Alfonso Arango of Cordialsa.                           16:40:19
   23                          Who is Juliana Gomez Gonzalez?            16:40:31
   24                  A.      Director of marketing.            She     16:40:43
   25        works with Luis Ignacio Salazar.                            16:40:45

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    1                       HERNANDO RAMOS MORENO
    2                  Q.    And who is Maria Adelaida                16:40:48
    3        Arango Hoyos?                                            16:40:52
    4                  A.    Marketing director, works with           16:40:58
    5        Luis Ignacio Salazar.         Correcting myself,         16:41:02
    6        used to work.                                            16:41:08
    7                  Q.    Do you know if Maria Arango is           16:41:09
    8        related to Luis Arango?                                  16:41:13
    9                  A.    I don't know.                            16:41:25
   10                  Q.    So she's writing to you and              16:41:30
   11        she says, "hey, I have several doubts                    16:41:34
   12        that I would like to know in case of                     16:41:37
   13        requesting support from marketing."                      16:41:40
   14                        Then she says, "do you have              16:41:52
   15        the product value chain?           What is the PVP       16:41:54
   16        to the consumer in the U.S.A.?               What are    16:41:57
   17        the prices of the competitors?               How much    16:42:08
   18        is the product currently selling for?               In   16:42:11
   19        some cases we have seen that our products                16:42:15
   20        are arriving but we do not carry them.                   16:42:18
   21        How big is the potential of the Colombian                16:42:33
   22        population in the United States being                    16:42:37
   23        calculated?"       Then it says, "The use of             16:42:40
   24        the brand in the United States, if I                     16:42:53
   25        remember correctly, has been lost at some                16:42:55

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    1                       HERNANDO RAMOS MORENO
    2                  Q.    Yes.                                        17:07:35
    3                  A.    It wasn't a concern, it was                 17:07:52
    4        more about the way the label should look.                   17:07:54
    5        We wanted to know if the writing should                     17:07:56
    6        be Spanish/English or English/Spanish.                      17:07:58
    7                  Q.    Did Mr. Arango respond to you?              17:09:01
    8                  A.    Yes.                                        17:09:05
    9                  Q.    And do you remember what his                17:09:09
   10        response was?                                               17:09:10
   11                  A.    It's here on the document.                  17:09:17
   12                  Q.    Can you -- is that what's on                17:09:20
   13        3613, the first page?                                       17:09:24
   14                  A.    Correct.                                    17:09:30
   15                  Q.    What is he saying here?             In      17:09:31
   16        your own words, what is he saying?                          17:09:36
   17                  A.    That the name of the product                17:09:57
   18        in English is fine.        The nutritional                  17:10:13
   19        facts in English are fine.            The                   17:10:16
   20        ingredients in English are fine.                  Then it   17:10:18
   21        says that the law requires that the                         17:10:40
   22        product be in English and Spanish.                  And     17:10:41
   23        that the way that we had defined the                        17:10:43
   24        labels was fine.                                            17:10:47
   25                        Should I continue?                          17:10:54

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    1                        HERNANDO RAMOS MORENO
    2                  Q.      Yes.                                  17:10:55
    3                  A.      That the product must read            17:11:08
    4        distributed by Cordialsa and must have                  17:11:10
    5        their address in Houston.              And then at      17:11:12
    6        the end he says that it needs to have a                 17:11:39
    7        code that we use in Colombia that's an                  17:11:44
    8        EAN.       It's a code that they do not use             17:11:47
    9        here in the U.S., in the U.S. they use a                17:11:50
   10        code called UPC, it's a twelve-digit                    17:11:53
   11        code.                                                   17:11:57
   12                  Q.      Are you familiar with UPC             17:11:57
   13        codes?                                                  17:11:59
   14                  A.      No.                                   17:12:03
   15                  Q.      I believe you testified               17:12:05
   16        earlier that the Cordialsa back in 2014                 17:12:09
   17        didn't have the distribution capability                 17:12:16
   18        that Industria was looking for?                         17:12:20
   19                          MR. RAYMOND:     Object to the        17:12:23
   20                  form.                                         17:12:24
   21                  Q.      Is that correct?                      17:12:24
   22                          MR. RAYMOND:     Object to the        17:12:25
   23                  form.    That's not what he testified         17:12:26
   24                  to.                                           17:12:27
   25                          Did you say objection to the          17:12:53

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    1                         HERNANDO RAMOS MORENO
    2                  form?    That's not what he testified          17:12:55
    3                  to.                                            17:12:56
    4                  A.      Okay.   When we had started the        17:13:22
    5        project, Cordialsa did not have the                      17:13:24
    6        distribution network, it wasn't big                      17:13:26
    7        enough.         But in 2014 it had already               17:13:28
    8        grown, they had more clients and they had                17:13:30
    9        more potential for sales.               So that's when   17:13:32
   10        we began the project again with them.                    17:13:34
   11                          MR. INGBER:      I'd like to mark      17:13:42
   12                  this as Exhibit HRM-F.           IAZ 2480 to   17:13:43
   13                  2481.                                          17:13:53
   14                          (Exhibit HRM-F for                     17:13:57
   15                  identification, email dated                    17:13:57
   16                  September 19, 2017, production                 17:13:57
   17                  numbers IAZ_DNJ 2480 through                   17:13:57
   18                  IAZ_DNJ 2481.)                                 17:14:21
   19      BY MR. INGBER:                                             17:14:21
   20                  Q.      So if you look at the bottom           17:14:22
   21        of 2481, there is an email dated it looks                17:14:23
   22        like, I guess it looks like September                    17:14:31
   23        11th, from Luis Arango to you.                  And he   17:14:32
   24        says, "I'm visiting the points of sale                   17:14:41
   25        here in New Jersey.           I'm finding that in        17:14:43

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    1                       HERNANDO RAMOS MORENO
    2        the market there are Zenu beans from a                  17:14:45
    3        company that calls itself Zenu Products                 17:14:48
    4        USA."                                                   17:14:52
    5                        MR. RAYMOND:      Before you get        17:15:02
    6                  the question, can I just clarify.             17:15:03
    7                  This seems to be March 12th, you              17:15:05
    8                  said September 11th.                          17:15:07
    9                        MR. INGBER:      I see September        17:15:09
   10                  10, 2481, at the bottom.                      17:15:10
   11                        MR. RAYMOND:      I'm sorry.            17:15:15
   12                        And I think 9/11 means                  17:15:43
   13                  November 9, not September 11th.               17:15:45
   14                        MR. INGBER:      November 10th --       17:15:47
   15                  excuse me.   September 10th.                  17:15:49
   16                        MR. RAYMOND:      I think it goes       17:15:51
   17                  day --                                        17:15:54
   18                        MR. INGBER:      This is September      17:15:56
   19                  10th, I believe.                              17:15:57
   20                  Q.    Is this dated September 10,             17:15:58
   21        2014?                                                   17:16:00
   22                  A.    Yes.                                    17:16:09
   23                  Q.    Now, above it there is a                17:16:15
   24        response letter, response email,                        17:16:17
   25        September 11th, from you to Luis Arango,                17:16:20

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    1                     HERNANDO RAMOS MORENO
    2        regarding Zenu beans in the U.S.A.               And    17:16:25
    3        it says, "Luis, thank you very much for                 17:16:43
    4        the information, it coincides with the                  17:16:46
    5        teleclient that we sent to the legal                    17:16:49
    6        department, Juridica, where a client in                 17:16:50
    7        New York complained about the service of                17:16:54
    8        our distributor in Miami, which we do not               17:16:56
    9        have.     This topic is more complex than we            17:16:59
   10        had imagined."                                          17:17:04
   11                      And then there is an email on             17:17:40
   12        2481 -- excuse me.      2480, first page,               17:17:45
   13        it's from Luis Arango to you, dated, I                  17:17:52
   14        think it's March 12, 2014.           Again, Zenu        17:17:58
   15        beans in U.S.A. and also Rica Rondo.               It   17:18:06
   16        says, "Hey Hernando, I want to tell you                 17:18:25
   17        that the topic of Zenu has increased a                  17:18:28
   18        lot and our sales personnel are seeing                  17:18:31
   19        the product in many supermarkets and not                17:18:32
   20        just the line of beans, but also all the                17:18:35
   21        topic of sausages.      In addition to the              17:18:38
   22        Zenu brand we are seeing that they are                  17:18:40
   23        not -- that not they are also using Rica                17:18:42
   24        Rondo.     I'm going to send photos for your            17:18:49
   25        record.     In this email I'm sending photos            17:18:52

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    1                       HERNANDO RAMOS MORENO
    2                          Do you know if Industria was          17:44:36
    3        able -- who is Alimentos Carnicos, that's               17:44:38
    4        your company, correct?                                  17:44:42
    5                  A.      Yes.                                  17:44:44
    6                  Q.      Did this product have meat in         17:44:50
    7        it?                                                     17:44:53
    8                  A.      Bacon.    A small amount.             17:45:03
    9                  Q.      How would you be able to              17:45:05
   10        overcome the U.S. restriction on --                     17:45:08
   11        because of the hoof-and-mouth issue that                17:45:15
   12        you referenced before?                                  17:45:17
   13                          MR. RAYMOND:       Object to the      17:45:17
   14                  form.    There is no testimony                17:45:19
   15                  hoof-and-mouth had anything to do             17:45:21
   16                  with bacon, which comes from a pig.           17:45:22
   17                  Q.      Was there a hoof-and-mouth            17:45:25
   18        restriction -- to your knowledge, was                   17:45:27
   19        there a hoof-and-mouth restriction that                 17:45:28
   20        Colombia had relating to bacon?                         17:45:31
   21                  A.      No.    The restriction is for         17:45:45
   22        cow meat.         This is pork.                         17:45:48
   23                  Q.      Does Industria produce bacon          17:45:56
   24        for export -- excuse me.               Does Nutresa     17:46:03
   25        produce bacon for export to the U.S., to                17:46:08

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    1                         HERNANDO RAMOS MORENO
    2        your knowledge?                                         17:46:17
    3                  A.      Nutresa does not produce the          17:46:17
    4        bacon.         The bacon is produced by a               17:46:24
    5        company in the United States.                           17:46:26
    6                  Q.      So again, is it still your            17:46:29
    7        answer then that Colombian companies can                17:46:35
    8        export bacon that is made in Colombia to                17:46:40
    9        the United States?                                      17:46:47
   10                  A.      In general, I do not have that        17:47:19
   11        information.         But the amount -- the              17:47:21
   12        percentage of the bacon in this item was                17:47:24
   13        very low.         The main ingredient was beans,        17:47:26
   14        not bacon.                                              17:47:29
   15                  Q.      So are you saying that you're         17:47:34
   16        not sure now whether Colombia could                     17:47:37
   17        export pork products that are made in                   17:47:40
   18        Colombia to the U.S.?                                   17:47:45
   19                          MR. RAYMOND:     I object to the      17:47:46
   20                  form of the question.         You never       17:47:48
   21                  asked him that question before, so            17:47:49
   22                  the implication that he's answered            17:47:50
   23                  it one way or the other is not                17:47:52
   24                  correct.    But you can ask him the           17:47:54
   25                  question if you'd like to.                    17:47:55

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    1                       HERNANDO RAMOS MORENO
    2                  A.    It's my understanding that the           17:48:32
    3        restriction to export is on cow meat, not                17:48:34
    4        poultry or pork, and that's the                          17:48:39
    5        limitation that we have for exporting to                 17:48:41
    6        other countries.                                         17:48:43
    7                  Q.    Did you ever retain -- did you           17:48:46
    8        ever obtain the registration of the                      17:48:50
    9        product which you said you would get next                17:48:52
   10        week?                                                    17:48:54
   11                  A.    This email is referring to the           17:49:13
   12        registration for the manufacturing plant                 17:49:24
   13        registration, not the product.               So we did   17:49:28
   14        get the registration for the                             17:49:30
   15        manufacturing plant.         And the product             17:49:32
   16        registration was in process.                             17:49:33
   17                  Q.    Do you know if the                       17:49:36
   18        foot-and-mouth disease is limited to                     17:49:37
   19        cows?                                                    17:49:41
   20                  A.    Yes.                                     17:49:48
   21                  Q.    So as far as you know, the               17:49:52
   22        foot-and-mouth disease does not effect                   17:49:54
   23        pigs.       Is that correct?                             17:49:58
   24                  A.    No.                                      17:50:04
   25                  Q.    Well, if you come -- if you              17:50:08

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    1                       HERNANDO RAMOS MORENO
    2        change your mind about that, I hope                      17:50:13
    3        you'll indicate that at some point,                      17:50:15
    4        because I think you're wrong.                            17:50:18
    5                        MR. RAYMOND:      I object to the        17:50:24
    6                  statement.   He's not here to                  17:50:24
    7                  testify about such regulations in              17:50:27
    8                  any event.                                     17:50:29
    9                        MR. INGBER:      He just did.            17:50:29
   10                        I'd like to have this marked             17:51:01
   11                  as Exhibit HRM-J.                              17:51:03
   12                        (Exhibit HRM-J for                       17:51:03
   13                  identification, email dated June 5,            17:51:03
   14                  2014, with attachment, production              17:51:03
   15                  numbers IAZ_DNJ 3621 through                   17:51:03
   16                  IAZ_DNJ 3622.)                                 17:51:40
   17      BY MR. INGBER:                                             17:51:40
   18                  Q.    These are exhibits labeled IAZ           17:51:40
   19        3621 through 3622 with some Google                       17:51:44
   20        translations.                                            17:51:47
   21                        So the email that's on 3621 is           17:51:49
   22        a, appears to be a June 5, 2014 email                    17:51:57
   23        from you to Libia Eugenia Bentacur                       17:52:02
   24        Rendon, and Mr. Arango is copied in.               And   17:52:10
   25        this is regarding RM Sofia Express.                      17:52:16

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    1                       HERNANDO RAMOS MORENO
    2                        What is this email about?               17:52:22
    3                  A.    It's a request from Luis                17:53:21
    4        Alfonso Arango from Cordialsa in order to               17:53:25
    5        commercialize the Sofia Express products.               17:53:28
    6        These are frozen goods.                                 17:53:30
    7                  Q.    Who is Betancur Rendon?                 17:53:31
    8                  A.    A marketing person who worked           17:53:44
    9        with Luis Alfonso Salazar -- Luis Ignacio               17:53:46
   10        Salazar.                                                17:53:53
   11                  Q.    Did Mr. Salazar ask you to              17:53:53
   12        refer this to Mr. Betancur Rendon?                      17:53:55
   13                  A.    She was responsible for frozen          17:54:19
   14        goods, and she worked under Salazar's                   17:54:22
   15        supervision.                                            17:54:24
   16                  Q.    Did Mr. Arango provide you a            17:54:25
   17        list of frozen food that you needed                     17:54:30
   18        export advice on?                                       17:54:34
   19                  A.    He was interested in                    17:55:24
   20        distributing our frozen line products in                17:55:26
   21        the United States to people from                        17:55:29
   22        Colombian origin.       So he did not give me           17:55:32
   23        any information, he doesn't give me any                 17:55:35
   24        details of the products in this email.                  17:55:37
   25        He wanted a catalog of the products                     17:55:39

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    1                       HERNANDO RAMOS MORENO
    2        first.                                                    17:55:41
    3                  Q.    Did Mr. Betancur Rendon                   17:55:42
    4        respond?                                                  17:55:47
    5                  A.    Yes.   But it's not in this               17:55:54
    6        document.                                                 17:56:02
    7                  Q.    What did he say, do you                   17:56:02
    8        remember?                                                 17:56:50
    9                  A.    That we had a restriction in              17:56:50
   10        many of the frozen foods, but that we                     17:56:51
   11        could distribute ethnic products like the                 17:56:55
   12        dough for the bumuelos or for the cheese                  17:56:57
   13        sticks or palitos de queso.              It's not         17:57:00
   14        really a restriction, it's more of a                      17:57:04
   15        limitation with frozen food distribution.                 17:57:06
   16                  Q.    Were these Zenu-branded                   17:57:09
   17        products?                                                 17:57:12
   18                  A.    At that time no, but today                17:57:25
   19        they became Zenu brand products.                   They   17:57:27
   20        were Sofia Express back then.                             17:57:31
   21                  Q.    Did Industria acquire Sofia               17:57:34
   22        Express?                                                  17:57:39
   23                  A.    Yes.                                      17:57:39
   24                  Q.    And what kind of products did             17:57:41
   25        Sofia Express make?                                       17:57:44

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    1                       HERNANDO RAMOS MORENO
    2                  A.    It was frozen foods, like               17:58:04
    3        palitos de queso, empanadas, prepared                   17:58:21
    4        foods like pasta bolognese, dough for                   17:58:28
    5        bumuelos and pizzas.                                    17:58:32
    6                        MR. INGBER:       We need to take a     17:59:02
    7                  short break.    Five minutes.                 17:59:04
    8                        (A recess was taken.)                   17:59:18
    9                        (Exhibit HRM-K for                      17:59:18
   10                  identification, email dated                   17:59:18
   11                  November 11, 2014, production                 17:59:18
   12                  numbers IAZ_DNJ 3636 through                  17:59:18
   13                  IAZ_DNJ 3637.)                                18:19:59
   14                        MR. INGBER:       We're up to           18:19:59
   15                  Exhibit K.    Which is IAZ_DNJ 3636           18:20:00
   16                  through 37.                                   18:20:06
   17      BY MR. INGBER:                                            18:20:12
   18                  Q.    Now, I'd like you to refer to           18:20:13
   19        the second email on 3636.              Dated, I         18:20:15
   20        believe it's dated September 10, 2014.                  18:20:25
   21        And if you could read that and then I'm                 18:20:30
   22        going to ask the translator to read that                18:20:32
   23        into the record.                                        18:20:36
   24                  A.    Perfect.                                18:20:43
   25                        MR. INGBER:       We don't need         18:20:46

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    1                         HERNANDO RAMOS MORENO
    2                  him -- we need you to read it.                18:20:47
    3                          MR. RAYMOND:     Read it to           18:20:49
    4                  yourself.                                     18:20:50
    5                          MR. INGBER:     Read it to            18:20:52
    6                  yourself so you're familiar with              18:20:53
    7                  it.                                           18:20:54
    8                          THE INTERPRETER:        Hey           18:20:57
    9                  Hernando.    I am visiting some               18:20:59
   10                  points of sale here in New Jersey             18:21:00
   11                  and I am seeing that there are --             18:21:03
   12                  some Zenu beans are for sale here             18:21:08
   13                  from a company called Zenu Products           18:21:11
   14                  USA.    The logo, descriptors and             18:21:13
   15                  photos are identical as the                   18:21:19
   16                  Colombian product.       But this is not      18:21:21
   17                  a Zenu product.      It's from a              18:21:25
   18                  company that it's appropriating the           18:21:28
   19                  Zenu brand and it makes the                   18:21:32
   20                  consumer feel that he or she is               18:21:33
   21                  buying Zenu products when they're             18:21:35
   22                  really not.   I visited the website           18:21:37
   23                  Zenu.US.com/EN, and you can find              18:21:43
   24                  there -- it's not I visited.                  18:21:52
   25                  Visit.    Visit the website -- sorry,         18:21:57

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    1                       HERNANDO RAMOS MORENO
    2                  it is I visited.       And you will find      18:22:07
    3                  there that they even sell the                 18:22:11
    4                  Ranchera sausage, Zenu chorizo, et            18:22:13
    5                  cetera.   I am attaching a photo              18:22:19
    6                  that I took at the point of sale              18:22:21
    7                  and I additionally purchased a                18:22:23
    8                  sample in case you need it.                   18:22:25
    9                  Additionally, I asked the cashiers            18:22:29
   10                  about the sale of this product, and           18:22:32
   11                  coincidentally they were Colombian.           18:22:37
   12                  And they said that they were very             18:22:39
   13                  happy that -- that the consumers              18:22:41
   14                  were very happy because they are              18:22:43
   15                  seeing that they could now buy Zenu           18:22:45
   16                  products in the U.S.A. and that the           18:22:50
   17                  canned beans -- and that it's                 18:22:54
   18                  already a leading brand for the               18:22:57
   19                  canned beans.     I consider this an          18:22:59
   20                  important subject for you to review           18:23:02
   21                  internally in the company.                    18:23:05
   22      BY MR. INGBER:                                            18:23:23
   23                  Q.    So this is an email from                18:23:23
   24        Mr. Arango to you.          Is that right?              18:23:26
   25                  A.    Yes.                                    18:23:33

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    1                       HERNANDO RAMOS MORENO
    2                  Q.    And Mr. Arango I believe is             18:23:36
    3        saying in his letter that he saw                        18:23:49
    4        customers -- excuse me.          He asked the           18:23:51
    5        cashiers about the sale of this product                 18:23:54
    6        and the customers were -- excuse me --                  18:23:56
    7        the cashiers were Colombian, and they                   18:24:03
    8        said that they were very happy, the                     18:24:06
    9        consumers were very happy because they're               18:24:09
   10        seeing that they can now buy Zenu                       18:24:12
   11        products in the U.S. and that the canned                18:24:14
   12        beans -- is already a leading brand for                 18:24:16
   13        the canned beans.                                       18:24:17
   14                        Did you share this                      18:24:49
   15        information, this email with people at                  18:24:53
   16        Industria?                                              18:24:55
   17                  A.    I suppose so.                           18:25:00
   18                  Q.    Did you discuss it with Diego           18:25:07
   19        Medina?                                                 18:25:09
   20                  A.    I don't remember.                       18:25:12
   21                  Q.    Do you know that Industria has          18:25:16
   22        made some allegations in their complaint                18:25:19
   23        that say that the Latinfood goods are                   18:25:24
   24        subpar and not inspected?                               18:25:31
   25                  A.    I don't know the details of             18:25:49

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    1                       HERNANDO RAMOS MORENO
    2        that statement.                                         18:25:56
    3                  Q.    Have you heard that statement           18:25:57
    4        before?                                                 18:25:58
    5                  A.    Not the statement.         What I did   18:26:16
    6        hear or what I know is that these                       18:26:21
    7        products are not manufactured by                        18:26:23
    8        Industria de Alimentos Zenu.                            18:26:25
    9                  Q.    Did you ever get any emails             18:26:29
   10        from Mr. Arango or anybody else that                    18:26:30
   11        stated that customers were unhappy with                 18:26:34
   12        Latinfood's Zenu products in the U.S.?                  18:26:37
   13                  A.    In detail what Luis Arango was          18:27:58
   14        saying is that he saw the products and                  18:28:07
   15        that visually these products use the                    18:28:09
   16        Zenu -- the Zenu brand or the Zenu                      18:28:15
   17        trademark, which is the leading brand of                18:28:17
   18        the product in Colombia.           So consumers         18:28:20
   19        were happy to see their trusted brand,                  18:28:23
   20        which was not a product that was made by                18:28:26
   21        Industria, but it was made by Latinfoods.               18:28:28
   22        So consumers wouldn't have the knowledge                18:28:33
   23        or they wouldn't know the details for                   18:28:34
   24        that information and they would just                    18:28:36
   25        assume that they are Zenu products, which               18:28:38

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